                                 Case 18-50307-KKS                    Doc 7        Filed 10/09/18           Page 1 of 2

Information to identify the case:
Debtor 1                 Roger Allen Mills                                                      Social Security number or ITIN    xxx−xx−1688

                         First Name   Middle Name   Last Name                                   EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
(Spouse, if filing)      First Name   Middle Name   Last Name
                                                                                                EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court        Northern District of Florida
                                                                                                Date case filed for chapter 13 10/8/18
Case number:          18−50307−KKS



Official Form 309I
Notice of Chapter 13 Bankruptcy Case                                                                                                                   07/18


For the debtors listed above, a case has been filed under chapter 13 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully. To protect your rights, consult an attorney.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors, the debtors' property, and certain codebtors. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a
deficiency, repossess property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or
otherwise. Creditors who violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay
may be limited to 30 days or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 13 plan may result in a discharge. Creditors who assert that the debtors are not entitled to a discharge under 11 U.S.C. §
1328(f) must file a motion objecting to discharge in the bankruptcy clerk's office within the deadline specified in this notice. Creditors who want to have
their debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office by the same deadline. (See line 13 below for more
information.)
All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or through PACER (Public Access to Court
Electronic Records at www.pacer.gov). Anyone can register for the Electronic Bankruptcy Noticing program at ebn.uscourts.gov to quickly receive
court−issued notices and orders by email. This program is FREE.

The staff of the bankruptcy clerk's office cannot give legal advice.

To help creditors correctly identify debtors, debtors submit full Social Security or Individual Taxpayer Identification
Numbers, which may appear on a version of this notice. However, the full numbers must not appear on any document
filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of
a Social Security or Individual Taxpayer Identification Number in any document, including attachments, that you file
with the court.

                                              About Debtor 1:                                               About Debtor 2:
1. Debtor's full name                         Roger Allen Mills

2. All other names used in the
   last 8 years
                                              4021 Osprey Point
3. Address                                    Panama City, FL 32409
                                              Natasha Z. Revell                                             Contact phone 850−267−2111
                                              Zalkin Revell, PLLC
4. Debtor's  attorney
   Name and address
                                              Waterside Business Center                                     Email: tasha@zalkinrevell.com
                                              2441 US Highway 98W, Ste. 109
                                              Santa Rosa Beach, FL 32459

5. Bankruptcy trustee                         Leigh D. Hart                                                 Contact phone 850−681−2734
     Name and address                         P.O. Box 646                                                  Email: ldhdock@earthlink.net
                                              Tallahassee, FL 32302

6. Bankruptcy clerk's office                                                                                Hours open 9:00am − 4:00pm
     Documents in this case may be filed                                                                    Contact phone 1−866−639−4615
     at this address.                         110 E. Park Ave., Ste. 100                                    Date: 10/9/18
     You may inspect all records filed in     Tallahassee, FL 32301
     this case at this office or online at
      www.pacer.gov.
                                                                                                                  For more information, see page 2




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Debtor Roger Allen Mills                                                                                                           Case number 18−50307−KKS

7. Meeting of creditors
    Debtors must attend the meeting to     November 29, 2018 at 12:00 PM                                     Location:
    be questioned under oath. In a joint                                                                     U.S. Courthouse, 30 W. Government Street,
    case, both spouses must attend.                                                                          Panama City, FL
    Creditors may attend, but are not      The meeting may be continued or adjourned to a
    required to do so.                     later date. If so, the date will be on the court
                                           docket.

                                               *** Valid photo identification and proof of Social
                                                          Security Number required ***
8. Deadlines                               Deadline to file a complaint to challenge                                Filing deadline: 1/28/19
   The bankruptcy clerk's office must      dischargeability of certain debts:
   receive these documents and any
   required filing fee by the following
   deadlines.                              You must file:
                                           • a motion if you assert that the debtors are
                                              not entitled to receive a discharge under
                                              U.S.C. § 1328(f) or
                                           • a complaint if you want to have a particular
                                              debt excepted from discharge under
                                              11 U.S.C. § 523(a)(2) or (4).
                                           Deadline for all creditors to file a proof of claim                      Filing deadline: 12/17/18
                                           (except governmental units):
                                           Deadline for governmental units to file a proof of                       Filing deadline: 4/8/19
                                           claim:


                                           Deadlines for filing proof of claim:
                                            A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained at
                                            www.uscourts.gov or any bankruptcy clerk's office.
                                           If you do not file a proof of claim by the deadline, you might not be paid on your claim. To be paid, you must file
                                           a proof of claim even if your claim is listed in the schedules that the debtor filed.
                                           Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a proof of
                                           claim submits the creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can explain.
                                           For example, a secured creditor who files a proof of claim may surrender important nonmonetary rights,
                                           including the right to a jury trial.


                                           Deadline to object to exemptions:                                         Filing deadline:    30 days after the
                                           The law permits debtors to keep certain property as exempt. If you                            conclusion of the
                                           believe that the law does not authorize an exemption claimed, you                             meeting of creditors
                                           may file an objection.

9. Filing of plan and Initial              The plan will be sent separately. The initial hearing on confirmation will be held on 12/13/18 at 08:45 AM, at U.S.
   Confirmation Hearing                    Courthouse, via Video Conference at, 30 W. Government Street, Panama City, FL. Attendance by Debtor(s)
                                           and counsel at the Initial Confirmation Hearing is optional. Objections to confirmation will not be heard.
10. Creditors with a foreign               If you are a creditor receiving a notice mailed to a foreign address, you may file a motion asking the court to
    address                                extend the deadline in this notice. Consult an attorney familiar with United States bankruptcy law if you have
                                           any questions about your rights in this case.
11. Filing a chapter 13                    Chapter 13 allows an individual with regular income and debts below a specified amount to adjust debts
    bankruptcy case                        according to a plan. A plan is not effective unless the court confirms it. You may object to confirmation of the
                                           plan and appear at the confirmation hearing. A copy of the plan, if not enclosed, will be sent to you later, and if
                                           the confirmation hearing is not indicated on this notice, you will be sent notice of the confirmation hearing. The
                                           debtor will remain in possession of the property and may continue to operate the business, if any, unless the
                                           court orders otherwise.
12. Exempt property                        The law allows debtors to keep certain property as exempt. Fully exempt property will not be sold and
                                           distributed to creditors, even if the case is converted to chapter 7. Debtors must file a list of property claimed as
                                           exempt. You may inspect that list at the bankruptcy clerk's office or online at www.pacer.gov. If you believe that
                                           the law does not authorize an exemption that debtors claimed, you may file an objection by the deadline.
13. Discharge of debts                     Confirmation of a chapter 13 plan may result in a discharge of debts, which may include all or part of
                                           a debt. However, unless the court orders otherwise, the debts will not be discharged until all Payments
                                           under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                           debtors personally except as provided in the plan.
                                           If you want to have a particular debt excepted from discharge under 11 U.S.C. § 523(a)(2) or (4), you
                                           must file a complaint and pay the filing fee in the bankruptcy clerk's office by the deadline. If you
                                           believe that the debtors are not entitled to a discharge of any of their debts under 11 U.S.C. § 1328(f),
                                           you must file a motion.The bankruptcy clerk's office must receive the objection by the deadline to
                                           object to exemptions in line 8.




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